        Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 1 of 11




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT
____________________________________
                                          )
YELENA SAVINOVA, et. al.,                 )
                                          )
individually and on behalf of all others  )
similarly situated,                       )
                                          )
                Plaintiffs,               )    Case No. 3:20-cv-01612-MPS
                                          )
v.                                        )
                                          )
NOVA HOME CARE, LLC, et. al.,             )
                                          )
                Defendants.               )
____________________________________)


      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION
             FOR PROTECTIVE ORDER AND OTHER RELIEF

       I.      INTRODUCTION

       The plaintiffs, Yelena Savinova and Yemiliya Mazur (collectively, “Plaintiffs”), move

this Court for a protective order, corrective notice, and invalidation of releases and/or

declarations obtained by Defendants from current employees of Nova Home Care, LLC

(“Nova”) and Southern Home Care Services, Inc. (“Southern”). This week, it has come to the

attention of Plaintiffs’ counsel that Defendants have been making unprecedented one-time

payments to current employees of Nova and Southern, bringing the workers to individual

meetings with Defendants at the Marriott Hotel in Stamford, CT, and asking them to sign

documents stating that they do not have claims against Defendants.

       Defendants’ actions are highly coercive. They interfere with the class and collective

action process and warrant immediate intervention by the Court. First, the circumstances of

Defendants’ meetings with current employees, with workers being picked up from their work



                                                  1
        Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 2 of 11




assignments during working hours and driven to a hotel to meet with the Defendants, are rife

with potential for coercion. These workers have little choice in declining to attend the meetings

for fear of losing their jobs. The presence of Defendants’ lawyers at these meetings makes them

all the more intimidating and coercive. Defendants have asked workers to sign documents stating

they do not have claims against Defendants. Coupled with the unprecedented bonus payments,

the Defendants’ communications have a high potential for coercion and are intended to reduce

the size of the proposed class and collective in this case by obtaining releases from current

workers and/or otherwise discouraging their participation in this action.

       In light of Defendants’ highly improper, coercive communications with potential class

and collective members, Plaintiffs respectfully request that the Court, pursuant to its inherent

authority to manage collective actions: (1) issue a protective order barring Defendants from non-

routine ex parte communications with class members; (2) order Defendants to produce any

documents they asked workers to sign at the meetings; (3) order Defendants to provide a list of

class members they met with; (4) order that a corrective notice be issued to all class members

regarding their rights in this case; (5) order that any declarations or releases obtained by

Defendants are invalid; and (6) order any other relief the Court deems appropriate.

       II.     FACTUAL BACKGROUND

       Plaintiffs Yelena Savinova and Yemilia Mazur worked for Defendants Nova and

Southern as live-in caregivers. ECF Nos. 22-2, 22-3. Nova is owned and managed by defendant

Aleh Huliavatsenka and Southern’s Connecticut operations are managed by his life partner,

Yuliya Novikava. Id. Plaintiff Savinova and many class members often performed work for both

companies interchangeably. Id. Plaintiffs and many other caregivers employed by Nova and

Southern are recent immigrants from Russia, Ukraine, and other former Soviet republics who



                                                  2
        Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 3 of 11




speak little or no English. Id. They stay at the homes of the clients they are assigned to, often for

weeks at a time without a break. Id. They attend to sick, elderly clients around the clock but are

only paid for a set number of hours, usually between 13 and 16 hours per day. Id.

       Plaintiffs filed this case on October 27, 2020, alleging that they and other live-in

caregivers working for Nova and Southern did not receive minimum wage and overtime

compensation as required by the FLSA and the Connecticut Minimum Wage Act. ECF No. 1. On

February 19, 2021, Plaintiffs filed a Motion for Conditional Certification, asking this Court to

issue notice of this case to all individuals who worked for Nova and/or Southern Home Care

during the past three years. ECF No. 22. Defendants have filed motions to extend the briefing

schedule on Plaintiffs’ conditional certification motion. ECF Nos. 24, 27. Plaintiffs have

opposed these motions as delay tactics. ECF No. 25.

       This week, Plaintiffs’ Counsel learned from several current and former employees of

Nova and Southern that, over the past few weeks, Defendants have picked up employees from

their assignments during working hours and driven them to the Marriott Hotel in Stamford.

Declaration of Mariusz Kurzyna (“Kurzyna Decl.”), ¶ 3; Declaration of Lyudmyla Chumakova

(“Chumakova Decl.”), ¶¶ 5-6. There, Defendants met with the workers and asked them to sign

documents stating that they did not have claims against Defendants. Id. Counsel for both

Defendants were present for at least some of these meetings. Chumakova Decl., ¶ 6. Several

individuals also reported receiving one-time bonus payments, unlike any payment they had

received from Defendants before. Kurzyna Decl., ¶ 2; Chumakova Decl., ¶¶ 2-4.




                                                  3
       Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 4 of 11




       III.    ARGUMENT

       A. This Court has the Inherent Authority to Manage Communications with Class
          and Collective Action Members

       “Because of the potential for abuse, a district court has both the duty and the broad

authority to exercise control over a class action and to enter appropriate orders governing the

conduct of counsel and parties.” Gulf Oil Co. v. Bernard, 452 U.S. 89, 100 (1981).1 “Courts

applying the Gulf Oil standard have found that ex parte communications soliciting opt-outs, or

even simply discouraging participation in a case, undermine the purposes of Rule 23 and require

curative action by the court.” Guifu Li v. A Perfect Day Fran., Inc., 270 F.R.D. 509, 517 (N.D.

Cal. 2010). “Examples of communications that may warrant restraint include efforts by a

defendant to encourage potential class members not to participate in the class action, thereby

reducing potential liability.” County of Santa Clara v. Astra USA, Inc., 2010 WL 2724512, at *3

(N.D. Cal. July 8, 2010) (citing Kleiner v. First Nat'l Bank of Atlanta, 751 F.2d 1193, 1201–03

(11th Cir. 1985)).

       Similarly, the FLSA’s collective action mechanism gives this Court broad power to

oversee and regulate communications with collective action members. See Hoffmann–LaRoche

v. Sperling, 493 U.S. 165, 170–71 (1989). “The overarching policies of the FLSA's collective

suit provisions require that the proposed notice [to collective action members] provide accurate

and timely notice concerning the pendency of the collective action, so that [putative collective

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 This authority applies at all stages of a class action proceeding. See, e.g., Keystone Tobacco
Co., Inc v. U.S. Tobacco Co., 238 F.Supp.2d 151, 154 (D.D.C. 2002) (“[T]he Court rejects
defendants' position that it has no authority to limit communications between litigants and
putative class members prior to class certification.”); Ralph Oldsmobile Inc. v. Gen. Motors
Corp., 2001 WL 1035132, at *2 (S.D.N.Y. Sept.7, 2001) (“[A] court's power to restrict
communications between parties and potential class members [ ] appl[ies] even before a class is
certified.”); Haffer v. Temple Univ. of the Commonwealth Sys. of Higher Educ., 115 F.R.D.
506, 512 (E.D. Pa. 1987) (discussing a court's curative powers after “parties initiate improper
communications with class members”).
                                                 4
        Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 5 of 11




action members] can make informed decisions about whether to participate.” Whitehorn v.

Wolfgang's Steakhouse, Inc., 767 F.Supp.2d 445, 450 (S.D.N.Y. 2011); see also Billingsley v.

Citi Trends, Inc., 560 Fed. Appx. 914, 924 (11th Cir. 2014) (unpublished) (“Because FLSA

plaintiffs must opt-in, unsupervised, unilateral communications with those potential plaintiffs can

sabotage the goal of the FLSA's informed consent requirement by planting the slightest seed of

doubt or worry through the one-sided, unrebutted presentation of ‘facts.’”). “District courts can

exercise their discretionary authority over the notice-giving process in collective actions to

‘prevent confusion and unfairness by prohibiting and correcting communication that is

inaccurate, unbalanced, misleading, or coercive, or which improperly attempts to encourage class

members not to join the suit.’” OConner v. Agilant Sols., Inc., 444 F. Supp. 3d 593, 601

(S.D.N.Y. 2020) (quoting Agerbrink v. Model Serv. LLC, 2015 WL 6473005, at *3 (S.D.N.Y.

Oct. 27, 2015)). Importantly, “[b]ecause the damage from misstatements could well be

irreparable” in FLSA collective actions, the district court must be able to exercise its discretion

to attempt to correct the effects of such actions.” Billingsley, 560 Fed. Appx. at 924; see also

Hoffmann–La Roche, Inc. v. Sperling, 493 U.S. 165, 170 (1989) (noting that court intervention

in the collective action notice process may be necessary); Lillehagen v. Alorica, Inc., 2014 WL

12768156, at *4 (C.D. Cal. Dec. 18, 2014) (“From the moment a putative class or collective

action complaint is filed, Defendants’ communications with potential class members is subject to

scrutiny and control.”).

       B. Defendants’ Communications with Current Nova and Southern Employees are
          Highly Improper and Rife with Potential for Coercion and Warrant Prompt
          Corrective Action

       Defendants’ actions in taking workers to a hotel for meetings, asking them to sign

documents stating that they have no claims against Defendants, and disseminating unprecedented



                                                  5
        Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 6 of 11




bonus payments warrant prompt corrective action by this Court. “Whether a communication

is misleading or coercive—and therefore warrants judicial intervention—often depends not on

one particular assertion, but rather the overall message or impression left by the

communication.” OConner, 444 F. Supp. 3d at 601 (internal quotation marks omitted). “A court

therefore must examine the context in which the communications were made and the effect of

the communications in determining whether, and how much, communication should be

restricted.” Id.

        The communications here were misleading and coercive for several reasons. First, Nova

and Southern were targeting their current employees, who are potential class and collective

action members in this case. As numerous courts have held, there is an inherent danger when

defendants or their agents communicate directly with class members about an ongoing case –

particularly in the employment context. As the 11th Circuit Court of Appeals observed, “[a]

unilateral communications scheme…is rife with potential for coercion,” especially where the

defendant and class members “are involved in an ongoing business relationship.” Kleiner, 751

F.2d at 1202 (internal quotation marks omitted). This problem is exacerbated in the employee-

employer context. See Ojeda-Sanchez v. Bland Farms, 600 F. Supp. 2d 1373, 1379 (S.D. Ga.

2009) (noting that “a past as well as a potential future employment relationship between the

parties [] increases the risk that communications between them will have a coercive effect”);

Burrell v. Crown Cent. Petroleum, Inc., 176 F.R.D. 239, 244 (E.D.Tex.1997) (noting that “an

ongoing business relationship, such as employee and employer, may cause communications

between litigants to be coercive”).

        Furthermore, these immigrant home care workers were taken to meetings with

Defendants under highly coercive circumstances – they were picked up from their work



                                                 6
       Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 7 of 11




assignments during work hours, taken to a hotel where Defendants were present along with their

counsel, and were asked to sign documents stating they had no claim against the Defendants.

Courts have routinely issued corrective notice in similar situations. See Billingsley, 560 Fed.

Appx. at 918 (new dispute resolution policy rolled out in “blitzkrieg fashion” following filing of

action; targeted specifically to putative class members; acceptances obtained in coercive two-on-

one meetings under deceptive pretenses); OConner, 444 F.Supp.3d at 602-04 (new arbitration

policy was rolled out after action filed, and management pressured employees to quickly sign

agreement). Compounding the coercive nature of this interaction is the fact that many of the

home care workers speak little to no English, and were not able to fully understand the

documents they signed. See O'Connor v. Uber Techs., Inc., 2013 WL 6407583, at *6 (N.D. Cal.

Dec. 6, 2013) (invalidating arbitration agreements distributed by defendant in part because

“many Uber drivers are not native English speakers”).

       It is abundantly clear that Defendants’ actions were intended to undermine the collective

action mechanism and discourage participation in this case. In similar circumstances, courts

around the country have found that a protective order limiting future communications and/or a

corrective notice is proper. See Cox Nuclear Medicine v. Gold Cup Coffee Services, Inc., 214

F.R.D. 696, 697-98 (S.D. Ala. 2003) (collecting cases and concluding that “[a]busive practices

that have been considered sufficient to warrant a protective order include communications that

coerce prospective class members into excluding themselves from the litigation; communications

that contain false, misleading or confusing statements; and communications that undermine

cooperation with or confidence in class counsel”)(citations omitted); see also OConner, 444 F.

Supp. 3d at 597 (ordering corrective notice); Rogers v. WEBstaurant Store, Inc., 2018 WL

3058882, at *6 (W.D. Ky. June 20, 2018) (ordering corrective notice to be sent in light of



                                                 7
        Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 8 of 11




defendant’s two emails to its employees, finding that the emails “discourage[] potential plaintiffs

from joining the suit or chill[] participation in the collective action.”); Ojeda–Sanchez, 600

F.Supp.2d at 1379–81 (granting a limited protective order in FLSA collective action where the

defendants engaged in unsupervised, unsolicited, in- person interviews of the plaintiffs in an

environment that encouraged speedy and uninformed decision-making); Longcrier v. HL–A Co.,

595 F.Supp.2d 1218, 1229–30 (S.D. Ala. 2008) (striking declarations obtained through the

defendants' abusive and misleading communications with prospective opt-in plaintiffs); Belt v.

Emcare, Inc., 299 F.Supp.2d 664, 667-70 (E.D. Tex. 2003) (sanctioning and enjoining defendant

employer from communicating ex parte with potential class action members, finding that

defendant attempted to subvert the court's supervisory role by sending misleading and coercive

communications to employees that discouraged them from joining FLSA collective action).

       The fact that Defendants’ meetings took place after Plaintiffs filed their Motion for

Conditional Certification makes them all the more suspect. In Billingsley, the defendant

employer obtained “declarations and arbitration agreements [from potential FLSA collective

members] after the district court set forth the schedule and procedures for Billingsley's motion

for conditional certification and notice … through back-room meetings that were highly coercive

and interrogation-like.” Billingsley, 560 Fed. Appx. at 916. The district court also “ordered that

its supervised notice state that any potential plaintiff who felt that she signed the mandatory

arbitration agreement under duress was allowed to opt-in to the collective action notwithstanding

her agreement to the contrary.” Id. at 917. The Eleventh Circuit affirmed these remedial actions,

explaining that “[t]he district court simply did what other district courts routinely do: exercise

discretion to correct the effects of pre-certification communications with potential FLSA

collective action members after misleading, coercive, or improper communications are made.”



                                                  8
        Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 9 of 11




Id. at 922. Here, as in Billingsley, Defendants have made a concerted efforts to undermine the

collective and class action process in this case and diminish the numbers of opt-in plaintiffs.

       C. The Declarations or Releases Signed by Class Members Should be Struck or
          Invalidated

       Any documents signed by class members in the course of their meetings with Defendants,

stating they have no claims against Defendants, were obtained through coercion and should be

struck or invalidated. “[C]ourts have found arbitration clauses and releases voidable when there

is a record establishing actual or potential coercion or deception.” Chen-Oster v. Goldman, Sachs

& Co., 449 F. Supp. 3d 216, 255 (S.D.N.Y. 2020). “While there is no ‘test’ to determine whether

there is such actual or potential coercion or deception, courts generally consider and weigh a

number of case-specific factors” including:

           (1) the relative vulnerability of the putative class members; (2) evidence of actual
           coercion or conditions conducive to coercion; (3) whether the defendant targeted
           putative class members in a purposeful effort to narrow the class; (4) whether the
           [release] was unilaterally imposed on the putative class; and (5) evidence of
           misleading conduct, language, or omissions, including the extent to which the
           agreement does or does not mention the existence of the putative class action and
           related information.

Id. See also Balasanyan v. Nordstrom, Inc., 2012 WL 760566, at *1–2, 4 (S.D. Cal. Mar. 8,

2012) (in FLSA action, refusing to enforce individual arbitration agreement obtained through

improper class communication); Williams v. Securitas Sec. Servs. USA, Inc., 2011 WL

2713818, at *3 (E.D. Pa. July 13, 2011) (invalidating arbitration agreement obtained through

“confusing and unfair communication” during pre-certification stage of FLSA litigation and

ordering corrective measures); County of Santa Clara v. Astra USA, Inc., 2010 WL 2724512

(N.D. Cal. July 8, 2010) (invalidating releases obtained by letter to putative class).

       Here, the class members who were targeted by Defendants are current employee who

were taken to meet with Defendants (and their counsel) during their working hours. They were


                                                  9
       Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 10 of 11




asked to sign documents stating they have no claims against the Defendants and, as at-will

employees, had little choice in the matter. Defendants apparently did not provide these workers

with information about the pending lawsuit, the Plaintiffs’ and class members’ claims, or the

workers’ rights under the FLSA and CMWA. The coercive effect of Defendants’

communications was compounded by the unilateral and unprecedented bonus payments. Given

these circumstances, any declarations or releases signed by the workers during their meetings

with Defendants must be invalidated.

        IV.     CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court:

        (1)     issue a protective order barring Defendants from non-routine ex parte

communications with class members;

        (2)     order Defendants to produce any document they asked workers to sign at the

meetings;

        (3)     order Defendants to provide a list of class members they met with;

        (4)     order that a corrective notice be issued to all class members regarding their rights

in this case;

        (5)     order that any declarations or releases obtained by Defendants are invalid; and

        (6)     order such other relief as the Court deems appropriate.




                                                 10
Case 3:20-cv-01612-MPS Document 36-1 Filed 04/02/21 Page 11 of 11




                                    Respectfully submitted


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                               11
